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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 ARCHER AND WHITE SALES, INC.,                   )
                                                 )
                        Plaintiff,               )
                                                 )
 v.                                              )
                                                 )
 HENRY SCHEIN, INC., DANAHER                     )      CIVIL ACTION NO.:
 CORPORATION, INSTRUMENTARIUM                    )      2:12-CV-00572-JRG-RSP
 DENTAL INC., DENTAL EQUIPMENT                   )
 LLC, KAVO DENTAL TECHNOLOGIES,                  )
 LLC AND DENTAL IMAGING                          )
 TECHNOLOGIES CORPORATION,                       )
                                                 )
                   Defendants.                   )

                       THIRD AMENDED DOCKET CONTROL ORDER

       It is hereby ORDERED that the following schedule of deadlines is in effect until further

order of this Court:

  May 14, 2018                         Trial

  April 30, 2018                       Jury Selection – 9:00 a.m. in Marshall, Texas before Judge
                                       Rodney Gilstrap

  April 5, 2018                        Final Pretrial Conference – 9:00 a.m. in Marshall, Texas
                                       before Judge Rodney Gilstrap

  April 2, 2018                        Serve Objections to Exhibit Lists, Witness Lists, Deposition
                                       Designations and Counter-Designations

  April 2, 2018                        File Notice of Request for Daily Transcript or Real Time
                                       Reporting.
                                        If a daily transcript or real time reporting of court
                                       proceedings is requested for trial, the party or parties
                                       making said request shall file a notice with the Court and e-
                                       mail the Court Reporter, Shelly Holmes, at
                                       shelly_holmes@txed.uscourts.gov.

  March 23, 2018                       File Joint Pretrial Order, Joint Proposed Jury Instructions
                                       and Form of the Verdict, Updated Exhibit Lists, Updated
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                                                 Witness Lists, and Updated Deposition Designations
                                                 (including counter-designations).

    March 2, 2018                                Initial Pretrial Conference, 1:30 p.m., in Marshall, Texas
                                                 before Judge Gilstrap
    March 1, 2018                                Defendant to Identify and Give Notice of Trial Witnesses

    February 26, 2018                            Plaintiff to Identify and Give Notice of Trial Witnesses

    February 19, 2018                            Sur-Reply to Motions for Summary Judgment

    February 12, 2018                            Responses to Motions in Limine

    February 9, 2018                             Reply to Motions for Summary Judgment

    February 9, 2018                             Sur-Reply to Daubert Motion

    January 29, 2018                             File Motions in Limine


                                                 The parties are ordered to meet and confer on their
                                                 respective motions in limine and advise the court of any
                                                 agreements in this regard by 1:00 p.m. three (3) business
                                                 days before the pretrial conference. The parties shall limit
                                                 their motions in limine to those issues which, if improperly
                                                 introduced into the trial of the case would be so prejudicial
                                                 that the court could not alleviate the prejudice with
                                                 appropriate instruction(s).

    January 29, 2018                             Response to Motions for Summary Judgment (excluding
                                                 Daubert Motions).1

    January 29, 2018                             Reply to Daubert Motion

                                           OTHER LIMITATIONS

         1.       All depositions to be read into evidence as part of the parties’ case-in-chief shall
                  be EDITED so as to exclude all unnecessary, repetitious, and irrelevant
                  testimony; ONLY those portions which are relevant to the issues in controversy
                  shall be read into evidence.



1
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to oppose a motion
in the manner prescribed herein creates a presumption that the party does not controvert the facts set out by movant
and has no evidence to offer in opposition to the motion.” Local Rule CV-7(e) provides that a party opposing a
motion has 14 days, in addition to any added time permitted under Fed. R. Civ. P. 6(d), in which to serve and file a
response and any supporting documents, after which the court will consider the submitted motion for decision.
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       2.    The Court will refuse to entertain any motion to compel discovery filed after the
             date of this Order unless the movant advises the Court within the body of the
             motion that counsel for the parties have first conferred in a good faith attempt to
             resolve the matter. See Eastern District of Texas Local Rule CV-7(h).

       3.    The following excuses will not warrant a continuance nor justify a failure to
             comply with the discovery deadline:

             (a)    The fact that there are motions for summary judgment or motions to
                    dismiss pending;

             (b)    The fact that one or more of the attorneys is set for trial in another court on
                    the same day, unless the other setting was made prior to the date of this
                    order or was made as a special provision for the parties in the other case;

             (c)    The failure to complete discovery prior to trial, unless the parties can
                    demonstrate that it was impossible to complete discovery despite their
                    good faith effort to do so.

       4.    Mediation shall be attended, in person, by named parties (if an individual) or by a
             fully authorized representative (if not an individual) and by lead counsel. Third
             party insurance carriers who may be obligated to indemnify a named party and/or
   .         who owe a defense to any party shall also attend mediation, in person, by means
             of a fully authorized representative. Non-compliance with these directives shall be
             considered an intentional failure to mediate in good faith.

       5.    Any motion to alter any date on the DCO shall take the form of motion to amend
             the DCO. The motion to amend the DCO shall include a proposed order that lists
             all of the remaining dates in one column (as above) and the proposed changes to
             each date in an additional adjacent column (if there is no change for a date the
             proposed date column should remain blank or indicate that it is unchanged). In
             other words, the DCO in the proposed order should be complete such that one can
             clearly see all the remaining deadlines and the changes, if any, to those deadlines,
             rather than needing to also refer to an earlier version of the DCO.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 19th day of January, 2018.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE
